Case 4:22-cv-00691-O Document 160 Filed 01/09/23      Page 1 of 5 PageID 3022



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

JENNIFER VANDERSTOK; MICHAEL                      )
G. ANDREN; TACTICAL MACHINING,                    )
LLC, a limited liability company; and             )
FIREARMS POLICY COALITION, INC.,                  )
a nonprofit corporation,                          )
                                                  )
      Plaintiffs,                                 )
                                                  )
BLACKHAWK MANUFACTURING                           )
GROUP INC. d/b/a 80 PERCENT ARMS,                 )
                                                  )
      Intervenor Plaintiff,                       )
                                                      Civil Action No.
                                                  )
                                                      4:22-cv-00691-O
DEFENSE DISTRIBUTED, and SECOND                   )
AMENDMENT FOUNDATION, INC.,                       )
                                                  )
      Intervenor Plaintiffs,                      )
                                                  )
and                                               )
                                                  )
POLYMER80, INC.,                                  )
                                                  )
      Applicant in Intervention,                  )
                                                  )
v.                                                )
                                                  )
MERRICK GARLAND, in his official                  )
capacity as Attorney General of the United        )
States; UNITED STATES DEPARTMENT                  )
OF JUSTICE; STEVEN DETTELBACH,                    )
in his official capacity as Director of the       )
Bureau of Alcohol, Tobacco, Firearms and          )
Explosives; and BUREAU OF ALCOHOL,                )
TOBACCO, FIREARMS AND                             )
EXPLOSIVES,                                       )
                                                  )
             Defendants.                          )

 POLYMER80, INC.’S MOTION FOR EXPEDITED BRIEFING SCHEDULING AND
                     BRIEF IN SUPPORT THEREOF




                                              1
 Case 4:22-cv-00691-O Document 160 Filed 01/09/23                  Page 2 of 5 PageID 3023



       Applicant in Intervention Polymer80, Inc. (“Polymer80”) respectfully files this Motion for

Expedited Briefing Schedule and Brief in Support Thereof and would show the Court as follows:

                                             I.
                                         ARGUMENT

       On January 9, 2023, Polymer80 filed its Motion to Intervene in the above captioned action

for purposes of challenging on constitutional and administrative grounds the Final Rule at issue in

this action, Definition of “Frame or Receiver” and Identification of Firearms, 87 Fed. Reg. 24,652

(Apr. 26, 2022) (hereinafter “Final Rule”), the ATF’s Open Letter of December 27, 2022, Open

Letter to All Firearms Licensees: Impact of Final Rule 2021-05F on Partially Complete

Polymer80, Lone Wolf, and Similar Semiautomatic Pistol Frames, Bureau of Alcohol, Tobacco,

Firearms and Explosives (Dec. 27, 2022) (hereinafter “Open Letter”), and the ATF’s December

27, 2020 Letter to Mr. Loran Kelley (hereinafter “Polymer80 Letter”) and to obtain declaratory

and injunctive relief from enforcement of these administrative actions.

       An expedited briefing schedule for its Motion to Intervene is appropriate here for several

reasons. First, an expedited briefing schedule will allow Polymer80 to expeditiously obtain

injunctive relief. Polymer80 intends to promptly move for a preliminary injunction to obtain relief

from enforcement of the Final Rule, Open Letter, and the Polymer80 Letter, which threaten to

harm and potentially destroy its business. Given the substantial threat of irreparable harm to its

business, Polymer80 respectfully requests an expedited briefing schedule on its Motion to

Intervene.

       Second, an expedited briefing schedule will allow Polymer80 to participate in the

summary-judgment motion practice, which is currently underway in the case, in accordance with

the existing scheduling order. As stated in its Motion to Intervene, Polymer80 intends to adopt

and incorporate existing plaintiffs’ summary-judgment briefing, which was filed on December 23,



                                                2
  Case 4:22-cv-00691-O Document 160 Filed 01/09/23                 Page 3 of 5 PageID 3024



2022. However, if the Motion to Intervene proceeds on a non-expedited briefing schedule, the

parties will have completed their summary-judgment briefing before Polymer80’s intervenes. An

expedited briefing schedule will provide Polymer80 a meaningful opportunity to participate in the

current summary-judgment briefing.

        Finally, an expedited schedule would not prejudice the parties opposing Polymer80’s

Motion to Intervene. Polymer80 relies on similar factual and legal bases as the two previous

Motions to Intervene in this action, both of which were granted (Docs. 76-77 & 116-117). The

parties opposing Polymer80’s motion are well aware of the arguments they can make in response

and would not be prejudiced by an expedited schedule.

        For these reasons, the Court should set an expedited briefing schedule for Polymer80’s

Motion to Intervene.

                                                II.
                                         PRAYER FOR RELIEF

        WHEREFORE, Polymer80, Inc. respectfully requests that this Court enter an expedited

briefing schedule requiring parties to file responses, if any, to Polymer80, Inc.’s Motion to

Intervene within five business days and for Polymer80, Inc. to file its reply within three business

days following the response(s). Polymer80, Inc. further requests that this Court grant it any other

relief to which it is justly entitled.




                                                 3
Case 4:22-cv-00691-O Document 160 Filed 01/09/23    Page 4 of 5 PageID 3025



    Respectfully submitted,

                              BRADLEY ARANT BOULT CUMMINGS LLP

                              By: /s/ Dennis L. Daniels Jr.
                                   DENNIS L. DANIELS JR.
                                   Texas Bar No. 24107402
                                   dldaniels@bradley.com
                              3600 Fountain Place
                              1445 Ross Avenue
                              Dallas, Texas 75202
                              Telephone (214) 257-9800
                              Facsimile (214) 939-8787

                              JAMES W. PORTER, III (pro hac vice forthcoming)
                              jporter@bradley.com
                              MARC A. NARDONE (pro hac vice forthcoming)
                              mnardone@bradley.com
                              BRADLEY ARANT BOULT CUMMINGS LLP
                              1615 L Street NW
                              Suite 1350
                              Washington, D.C. 20036
                              Telephone (202) 393-7150
                              Facsimile (202) 347-1684

                              ATTORNEYS FOR POLYMER80, INC.




                                    4
 Case 4:22-cv-00691-O Document 160 Filed 01/09/23               Page 5 of 5 PageID 3026



                              CERTIFICATE OF SERVICE

      I certify that on January 9, 2023, the foregoing document was served, via the Court’s

CM/ECF Document Filing System, upon the registered CM/ECF users in this action.

                                                   /s/ Dennis L. Daniels
                                                   Dennis L. Daniels




                                              5
